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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

In re:                                                             Case No. 6:19-bk-03539-KSJ
                                                                   Chapter 7
DEBORAH SUE ANN KILLIAN
aka Deborah Schwartztrauber
aka Deborah Green,

      Debtor.
______________________________/

         MOTION FOR RELIEF FROM AUTOMATIC STAY (REAL PROPERTY)

                            NOTICE OF OPPORTUNITY TO
                         OBJECT AND REQUEST FOR HEARING

      Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
paper without further notice or hearing unless a party in interest files a response within 21
days from the date set forth on the attached proof of service, plus an additional three days
for service if any party was served by U.S. Mail.

      If you object to the relief requested in this paper, you must file a response with the
Clerk of the Court at 400 W. Washington Street, Suite 5100, Orlando, FL 32801 and serve
a copy on the movant's attorney, Frederic J. DiSpigna, Esq., at Marinosci Law Group,
P.C., 100 West Cypress Creek Road, Suite 1045, Fort Lauderdale, FL 33309, and any
other appropriate persons within the time allowed. If you file and serve a response within
the time permitted, the Court will either schedule and notify you of a hearing or consider
the response and grant or deny the relief requested without a hearing.

     If you do not file a response within the time permitted, the Court will consider that
you do not oppose the relief requested in the paper, will proceed to consider the paper
without further notice or hearing, and may grant the relief requested.

         PennyMac Loan Services, LLC (“Movant”) hereby moves this Court, pursuant to 11

U.S.C. § 362, for relief from the automatic stay with respect to certain real property of the

Debtor having an address of 3043 Zander Dr, Grand Island, FL 32735 (the “Property”). In

support of this Motion, Movant respectfully states:

         1.     The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, Fed. R.




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Bankr. P. 4001(a) and the various other applicable provisions of the United States Bankruptcy

Code, Federal Rules of Bankruptcy Procedure and the laws of the United States of America.

       2.      A petition under Chapter 7 of the United States Bankruptcy Code was filed with

respect to the Debtor on May 29, 2019.

       3.      The Debtor has executed and delivered or is otherwise obligated with respect to

that certain promissory note in the original principal amount of $270,919.00 (the “Note”). A true

and correct copy of the Note is attached hereto as Exhibit A. Movant is an entity entitled to

enforce the Note.

       4.      Pursuant to that certain Mortgage (the “Mortgage”), all obligations (collectively,

the “Obligations”) of the Debtor under and with respect to the Note and the Mortgage are

secured by the Property. A true and correct copy of the Mortgage is attached hereto as Exhibit

B.

       5.      All rights and remedies under the Mortgage have been assigned to the Movant

pursuant to that certain assignment of mortgage, a true and correct copy of which is attached

hereto as Exhibit C.

       6.      According to the Statement of Intention for Individuals Filing Under Chapter 7,

the Debtor is surrendering the Property.

       7.      The legal description of the Property is:

       LOT 135, OF GRAND ISLAND RESERVE, ACCORDING TO THE PLAT
       THEREOF, AS RECORDED IN PLAT BOOK 60, AT PAGES 26
       THROUGH 31, INCLUSIVE, OF THE PUBLIC RECORDS OF LAKE
       COUNTY, FLORIDA.

       8.      The Debtor is indebted to Movant under the terms of the subject loan documents

for the unpaid principal balance of $265,558.75, plus additional interest, advances, costs and

attorneys’ fees advanced by Movant pursuant to the loan documents.



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       9.       The Debtor has defaulted under the terms of the subject loan documents by failing

to make the payment due on June 1, 2018 and all subsequent payments.

       10.      The estimated market value of the Property is $297,113.00. The basis for such

valuation is the Lake County Property Appraiser. A copy of the Valuation is attached as Exhibit

D.

       11.      Cause exists pursuant to 11 U.S.C. §362(d)(1) for relief from the automatic stay

for the following reasons:

             (a) Movant’s interest in the Property is being significantly jeopardized by the

Debtor’s failure to make regular mortgage payments while Movant is prohibited from pursuing

its lawful remedies to protect such interest. Thus, the Debtor has failed to adequately protect the

interest of Movant.

             (b) Movant’s interest in the collateral is not protected by an adequate equity cushion.

       12.      Movant requests that the Court waive the 14 day stay of Rule 4001(a)(3) of the

Federal Rules of Bankruptcy Procedure.

       13.      Movant requests that any communication by Movant in connection with

proceeding against the Property including notices required by state law and communications to

offer and provide information with regard to a potential forbearance agreement, loan

modification, refinance agreement, loss mitigation agreement or other loan workout, may be sent

directly to the Debtor.

       14.      In addition to the other amounts due Movant reflected in this Motion, as of the

date hereof, in connection with seeking the relief requested in this Motion, Movant has incurred

$750.00 in legal fees and $181.00 in costs. Movant seeks an award of its fees and costs, or

alternatively, reserves all rights to seek an award or allowance of such fees and expenses as part




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of the debt in accordance with applicable loan documents and related agreements, the

Bankruptcy Code and other applicable law, which fees and costs shall not be a personal liability

of the Debtor.

       15.       Pursuant to 11 U.S.C. § 362(e) Movant respectfully requests that in the event a

hearing becomes necessary on this Motion, one be held within thirty (30) days.

       WHEREFORE, Movant prays that this Court issue an Order terminating or modifying

the automatic stay and granting the following:

       1.        Relief from the stay allowing Movant (and any successors or assigns) to proceed

under applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain

possession of the Property.

       2.        That the Order be binding and effective despite any conversion of this bankruptcy

case to a case under any other chapter of Title 11 of the United States Code.

       3.        That any hearing on this Motion be held within 30 days.

       4.        That Movant’s attorneys’ fees and costs incurred in filing this Motion be

recoverable as part of the debt pursuant to the loan documents under the remedies available

therein but shall not be a personal liability of the Debtor.

       5.        That Movant permitted to contact the Debtor for the reasons stated.

       6.        For such other relief as the Court deems proper.

                                                    MARINOSCI LAW GROUP, P.C.
                                                    Attorney for Secured Creditor
                                                    100 West Cypress Creek Road, Suite 1045
                                                    Fort Lauderdale, FL 33309
                                                    Phone: (954) 644-8704 x1073
                                                    Fax: (401) 262-2110
                                                    Email: fdispigna@mlg-defaultlaw.com
                                                    /s/ Frederic DiSpigna
                                                    __________________________________
                                                    FREDERIC DISPIGNA, ESQ.
                                                    Florida Bar No. 345539

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy hereof has been served electronically

or via U.S. mail, first class postage prepaid, to the parties listed below on June 14, 2019.

Marie E. Henkel, Trustee
3560 South Magnolia Avenue
Orlando, FL 32806

United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801

Deborah Sue Ann Killian
4310 Arlington Ridge Blvd.
Leesburg, FL 34748

Samuel R Pennington, Esq.
Pennington Law Firm, P.A.
303 N. Texas Ave.
Tavares, FL 32778

                                                   MARINOSCI LAW GROUP, P.C.
                                                   Attorney for Secured Creditor
                                                   100 West Cypress Creek Road, Suite 1045
                                                   Fort Lauderdale, FL 33309
                                                   Phone: (954) 644-8704 x1073
                                                   Fax: (401) 262-2110
                                                   Email: fdispigna@mlg-defaultlaw.com
                                                   /s/ Frederic DiSpigna
                                                   __________________________________
                                                   FREDERIC DISPIGNA, ESQ.
                                                   Florida Bar No. 345539




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                         Doc          A
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                   EXHIBIT B
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                     EXHIBIT C
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                                                                                 EXHIBIT D
                                                                                                                                                         Select Language ▼


 Property Record Card
 General Information
                               KILLAN
 Owner Name:                   DEBORAH S A                     Alternate Key:                                                 3858470
                               ET AL
 Mailing                       3043 ZANDER                                                                                    33-18-26-0010-
                                                               Parcel Number:
 Address:                      DR                                                                                             000-13500
                               GRAND                           Millage Group and City:                                        000E (EUSTIS)
                               ISLAND, FL
                               32735                           Total Certified Millage Rate:                                  21.3755
                               Update Mailing                                                                                 My Public
                                                               Trash/Recycling/Water/Info:
                               Address                                                                                        Services Map
 Property                      3043 ZANDER                                                                                    --
 Location:                     DR                              Property Name:                                                 Submit Property
                               GRAND                                                                                          Name
                               ISLAND FL                                                                                      School Locator
                               32735                                                                                          & Bus Stop Map
                               Update Property School Information:
                                                                                                                              School
                               Location
                                                                                                                              Boundary Maps

                               EUSTIS, GRAND ISLAND RESERVE SUB LOT 135 PB 60 PG 26-
 Property
                               31 |
 Description:
                               ORB 4662 PG 1740 |
  NOTE: This property description is a condensed/abbreviated version of the original description as recorded on deeds or other legal instruments in
  the public records of the Lake County Clerk of Court. It may not include the Public Land Survey System’s Section, Township, Range information or
  the county in which the property is located. It is intended to represent the land boundary only and does not include easements or other interests of
  record. This description should not be used for purposes of conveying property title. The Property Appraiser assumes no responsibility for the
  consequences of inappropriate uses or interpretations of the property description.




 Land Data
                                                                                            No.                       Class                Land
 Line              Land Use                     Frontage Depth Notes                                    Type
                                                                                           Units                      Value                Value
        SINGLE FAMILY
 1                                              0               0                      1                LT       $0.00                $37,925.00
        (0100)

  Click here for Zoning Info                                                                  FEMA Flood
  Map



 Residential Building(s)
 Building 001
  Residential                                   Single Family                              Building Value: $259,188.00
                                                                            Summary
                                             Total Living Area:                                                                    Attached Garage:
     Year Built: 2015                                                                  Central A/C: Yes
                                             4079                                                                                  Yes
     Bedrooms: 5                             Full Bathrooms: 4                         Half Bathrooms: 0                           Fireplaces: 0

                                     Incorrect Bedroom, Bath, or other information?
                                                                           Section(s)
                    Section Type                                                                                     Basement




http://www.lakecopropappr.com/property-details.aspx?AltKey=3858470                                                                                                6/3/2019
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    Section                                              Ext. Wall                No.   Floor Finished                                                Basement      Map
      No.                                                 Type                  Stories Area    Attic                                                 Finished      Color
                    FINISHED
                                                     Stucco/Brick
   1                LIVING AREA                                                1               1965          N                  0%                  0%
                                                     (003)
                    (FLA)
                    OPEN PORCH                       No Wall Type
   2                                                              1                            196           N                  0%                  0%
                    FINISHED (OPF)                   (000)
                    FINISHED AREA
   3                UPPER STORY                      Wood (001)                1               2114          N                  0%                  0%
                    (FUS)
                    GARAGE
                                                     Stucco/Brick
   4                FINISHED                                                   1               570           N                  0%                  0%
                                                     (003)
                    STONE (GCF)
                    OPEN PORCH                       No Wall Type
   5                                                              1                            290           N                  0%                  0%
                    FINISHED (OPF)                   (000)

                                                                                                                                       View Larger / Print / Save


                                                            5




                                                                    3



                                                                                                         4




                                                   2




 Miscellaneous Improvements
                                        There is no improvement information to display.

 Sales History
 NOTE: This section is not intended to be a complete chain of title. Additional official book/page numbers may be listed in the property description above and/or
 recorded and indexed with the Clerk of Court. Follow this link to search all documents by owner's name..


  Book/Page Sale Date                         Instrument                Qualified/Unqualified Vacant/Improved Sale Price
  4662 / 1740 7/31/2015 Warranty Deed Qualified                                                                  Improved                        $273,700.00
  Click here to search for mortgages, liens, and other legal documents.


 Values and Estimated Ad Valorem Taxes
 Values shown are 2019 WORKING VALUES subject to change until certified.
 The Market Value listed below is not intended to represent the anticipated selling price of the property and should not be relied upon by any individual or
 entity as a determination of current market value.




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                                   Market     Assessed       Taxable                   Estimated
        Tax Authority                                                      Millage
                                   Value        Value         Value                      Taxes
 LAKE COUNTY BCC
                               $297,113      $261,595      $211,595       5.11800    $1,082.94
 GENERAL FUND
 LAKE COUNTY MSTU
                               $297,113      $261,595      $211,595       0.46290    $97.95
 AMBULANCE
 SCHOOL BOARD STATE            $297,113      $261,595      $236,595       4.10700    $971.70
 SCHOOL BOARD LOCAL            $297,113      $261,595      $236,595       2.24800    $531.87
 CITY OF EUSTIS                $297,113      $261,595      $211,595       7.58100    $1,604.10
 ST JOHNS RIVER FL
                               $297,113      $261,595      $211,595       0.25620    $54.21
 WATER MGMT DIST
 LAKE COUNTY VOTED
                               $297,113      $261,595      $211,595       0.13240    $28.02
 DEBT SERVICE
 LAKE COUNTY WATER
                               $297,113      $261,595      $211,595       0.49000    $103.68
 AUTHORITY
 NORTH LAKE HOSPITAL
                               $297,113      $261,595      $211,595       0.98000    $207.36
 DIST
                                                                          Total:     Total:
                                                                          21.3755    $4,681.83

 Exemptions Information

 This property is benefitting from the following exemptions with a checkmark ✓


 ✓ Homestead Exemption (first exemption up to $25,000)                     Learn
                                                                           More
                                                                                     View the
                                                                                     Law


 ✓ Additional Homestead Exemption (up to an additional $25,000)            Learn
                                                                           More
                                                                                     View the
                                                                                     Law
    Limited Income Senior Exemption (applied to county millage - up to     Learn     View the
    $50,000)                                                               More      Law
    Limited Income Senior Exemption (applied to city millage - up to       Learn     View the
    $25,000)                                                               More      Law
    Limited Income Senior 25 Year Residency (county millage only-          Learn     View the
    exemption amount varies)                                               More      Law
                                                                           Learn     View the
    Widow / Widower Exemption (up to $500)                                 More      Law
                                                                           Learn     View the
    Blind Exemption (up to $500)                                           More      Law
                                                                           Learn     View the
    Disability Exemption (up to $500)                                      More      Law
                                                                           Learn     View the
    Total and Permanent Disability Exemption (amount varies)               More      Law
                                                                           Learn     View the
    Veteran’s Disability Exemption ($5000)                                 More      Law
                                                                           Learn     View the
    Veteran’s Total and Permanent Disability Exemption (amount varies)     More      Law
                                                                           Learn     View the
    Veteran’s Combat Related Disability Exemption (amount varies)          More      Law
                                                                           Learn     View the
    Deployed Servicemember Exemption (amount varies)                       More      Law
    First Responder Total and Permanent Disability Exemption (amount       Learn     View the
    varies)                                                                More      Law
                                                                           Learn     View the
    Surviving Spouse of First Responder Exemption (amount varies)          More      Law




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Property Details : Lake County Property Appraiser                                                                                                                           Page 4 of 4
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                                                                                                                                Learn            View the
       Conservation Exemption (amount varies)                                                                                   More             Law
                                                                                                                                Learn            View the
       Tangible Personal Property Exemption (up to $25,000)                                                                     More             Law
       Religious, Charitable, Institutional, and Organizational Exemptions                                                      Learn            View the
       (amount varies)                                                                                                          More             Law
                                                                                                                                Learn            View the
       Economic Development Exemption                                                                                           More             Law
                                                                                                                                Learn            View the
       Government Exemption (amount varies)                                                                                     More             Law


 Exemption Savings
 The exemptions marked with a ✓ above are providing a tax dollar savings of:
 $909.91


 Assessment Reduction Information (3% cap, 10% cap, Agricultural,
 Portability, etc.)

 This property is benefitting from the following assessment reductions with a
 checkmark ✓


 ✓ Save Our Homes Assessment Limitation (3% assessed value cap)                                                                 Learn
                                                                                                                                More
                                                                                                                                                 View the
                                                                                                                                                 Law
                                                                                                                                Learn            View the
       Save Our Homes Assessment Transfer (Portability)                                                                         More             Law
                                                                                                                                Learn            View the
       Non-Homestead Assessment Limitation (10% assessed value cap)                                                             More             Law
                                                                                                                                Learn            View the
       Conservation Classification Assessment Limitation                                                                        More             Law
                                                                                                                                Learn            View the
       Agricultural Classification                                                                                              More             Law


 Assessment Reduction Savings
 The assessment reductions marked with a ✓ above are providing a tax dollar
 savings of: $759.22



 NOTE: Information on this Property Record Card is compiled and used by the Lake County Property Appraiser for the sole purpose of ad valorem property tax
 assessment administration in accordance with the Florida Constitution, Statutes, and Administrative Code. The Lake County Property Appraiser makes no
 representations or warranties regarding the completeness and accuracy of the data herein, its use or interpretation, the fee or beneficial/equitable title ownership or
 encumbrances of the property, and assumes no liability associated with its use or misuse. See the posted Site Notice.




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                                                              Property data last updated on May 5, 2019.
                                                                              Site Notice




http://www.lakecopropappr.com/property-details.aspx?AltKey=3858470                                                                                                            6/3/2019
